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Clerk, U}S. District Court KjMBWAKY§Y§YV

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David Roland Hinkson

Register NO. 08795~023

United States Penitentiary

P.O. Box 019001

Atwater, CA 95301

RE: U.S. v. David Roland Hinkson

Case NO(S.)l:lZ~CV-l96~RCT, l:O4-CR-127~RCT & 3:02~CR-142~
RCT.

May 17, 2013

Clerk of Court:

Defendant is requesting an updated version of his docket

sheets in the above mentioned case numbers.

I appreciate your time and thank you for What may be

forthcoming.

Respectfully,

David Hinkson

